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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION


    THE STATE OF TEXAS, et al.,                           §
                                                          §
              Plaintiffs,                                 §
    V.                                                    §        Civil Action No. 4:20-cv-00957-SDJ
                                                          §
    GOOGLELLC,                                            §
                                                          §
              Defendant.                                  §




                                     DECLARATION OF ERIC J. MAHR

         Pursuant to 28 U.S.C. Section 1746, I declare under penalty of perjury under the laws of the

United States of America that the following facts are true and correct within my personal knowledge.

         I.       I have reviewed the Verified Motion for Continuance and authorized this declaration to be

filed in support of it.

         2.       On June 25, 2025, pursuant to this Court's Scheduling Order, Plaintiffs served their

proposed trial procedures on Google. Attached as Exhibit "1" is a true and correct copy of a portion of

Plaintiffs' trial sequence proposal, stating their views on the expected length of the Texas trial. In

pertinent part, the proposal states that:

         For the liability portion of the state antitrust claims and DTPA claims to be determined by a jury,
         and the federal antitrust claims to be determined by Judge Jordan, the Plaintiffs believe this trial
         will last approximately four (4) to five (5) weeks. Specifically, the Plaintiffs believe if a jury is
         picked on Monday August 11th, [the liability trial]]will conclude with closing statements on
         Friday, September 12th ....For the bench trial of the DTPA civil penalties portion, the Plaintiffs
         believe this trial will last approximately one (1) week. If the jury finds there is liability for DTPA
         claims, Plaintiffs' propose continuing straight into this portion of the trial immediately following
         a verdict.

See Ex. I at A. I, Paragraphs 1-2.
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        3.       Under Plaintiffs' proposed schedule, the liability trial in this case could last five weeks,

followed by jury deliberations during the week of September 15, followed by a "one week" penalty phase

that would have to carry into the week of September 22, ( or even later, depending on the length of

deliberations). That would mean that trial here would still be ongoing when the remedies trial begins on

September 22, 2025 in the Virginia DOJ Proceeding. At least four witnesses important to Google's

defense to liability and/or penalties in the Texas trial are expected to testify in the Virginia DOJ

Proceeding in September. This overlap in trial schedules Plaintiffs propose would result in these key

Google witnesses being required to appear in two overlapping trials during the same week(s).

        4.       Antitrust claims pertaining to Google's Ad Tech stack are not only pending here and in

Virginia, they are also pending in private claims consolidated for pretrial management in the multi-district

litigation In re Google Digital Advertising Antitrust Litigation, No. J:21-md-03010 (PKC). In those cases,

the Hon. P. Kevin Castel of the Southern District of New York has ordered summary judgment briefing to

determine whether certain findings of fact issued by the Hon. Leonie K. Brinkema in the Eastern District

of Virginia should be given preclusive effect in the cases pending in the MDL. Plaintiffs' motions for

summary judgment on this issue were filed on June 20, 2025 and will be fully briefed by August 1, 2025.

Within 14 days of the ruling on those motions, Google has the right to seek leave to file its own summary

judgment motions.

        5.       While Google is a large company, there are at least four overlapping individual Google

employees that Google plans to have testify both in Virginia and here over the course of these two high

stakes trials in September, 2025. Google would be prejudiced if (as seems likely under Plaintiffs' trial

proposal here) witnesses crucial to its defense in both Texas and Virginia are unavailable in one court or

the other because they are testifying in the other, overlapping trial.




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        6.       For all these reasons, it is my belief that Google will suffer serious prejudice if the trial of

this case is not continued. I have discussed this with our clients at Google, who have authorized me to

seek this trial continuance on their behalf.



        SIGNED this-;oty of June, 2025.




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                                                           EXHIBIT "1"

     EXCERPT FROM PLAINTIFFS' PROPOSED TRIAL MANAGEMENT PROCEDURES


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                                           EASilR."'i"Dl'ffRICT Of TEXAS
                                                SHER.'\IA.., D1''JSIO~

           THE STATE OF TEXA..S. et al..

                                           Plol11ttjf'>,

                                                                         CIVIl.. NO. 4:20-CV-957-SDJ
               -    against -

           GOOGU:LLC ,

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                      PLID"TIITS' PROPOSED TRI AL ~L.\..'XAG:OlI:XT PROC[Dllu:.S

                   The parti~ rer,pectfully submit this joint statement regarding Joint Pretrial Orders and

          other pretrial protocols. including trial procedures for managing the disclosure and exchange

          demonstratives. wimes=. and exhibits. The below proposal is meant to build upon.. and

          compliment. the Plaintiffs· proposed .\tipulat1on on trial evidence circulated to Google on June 3.

          2025.

              A. Probable Lengrb oflnalh)

                     1. Estimated Time for Trial Time for State A11titmsl, DTPA. Claims, a11d Federal
                         A.11/itrust Claims
                   For the liability portion of the state antitrust claims and DTPA claims to be determined

         by a jwy. and the federal antitrust claims to be determined by Judge Jordan, the Plaintiffs believe

          this trial mll lasl appr-oxllllalcly fOU! (4) to five (5) weeks, Specifically. the PJ.al.llhffs believe ifa

         jmy is picked on Monday. August 11 th• then the parties can be ready to open on Tuesday. August

          n a and at~ latest. conclurle with d osing statements oo Friday. September 12m_Plaintiffs

         would tik.e to note that these dates could be imp~ ed by both the start of local public schools on

         Monday. August 11lh as well as the Labor Day bohday on r-.touday. September 1st.




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       last approximately one (1) week If the jury finds there is liability for DTPA claims. Plaintim

       propose continuing ~traigbt into ~ portion of the trial immediately following a verdict.




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